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PRoB. 12
(Rev.3!88)
UNITED STATES DISTRICT COURT _
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WESTERN DISTRICT OF TENNESSEE , __
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WESTERN DIVISION will 'OF iii f 1519- .…!3
U.S.A. vs. LEON JACKSON Docket No. M;QM

Petition on Probation and Supervised Release

C()MES NOW FREDDIE MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Leon Jackson Who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memphis, TN on the Lr_d_ day of Ju£1 2004 who fixed the period of
supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

 

The defendant shall serve six (6) months Community Conf`lnement

The defendant shall participate in a program for treatment of narcotic addiction or drug or alcohol dependency,
including testing for abuse.

The defendant shall participate in a program of mental health treatment
The defendant shall participate in anger management classes.

*Term of Supervised Release began October 20, 2004, and WaS revoked May 3, 2005, with a sentence of four (4)
months imprisonment

()n February 14, 2005, Mr. Jackson’s conditions were modified to include a five (5) month period of Home
Confinernent, and the condition to serve six (6) months Community Conf`lnement was waived.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHEI))

PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Mr. Jackson and his bond revoked.

ORDER OF COURT I declare under penalty of perjury that the foregoing

is true and correct.
Considered and ordered this f 7 day

of 1 1, l a ¢ , 20___ QF’a?ld_ordered filed and Executed on / 311 a p0 §

U.S. Probation Officer

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Jackson, Leon

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF HIS BOND:

The defendant shall participate in a program for treatment of narcotic addiction or drug or alcohol
dependency, including testing for abuse.

Mr. Jackson has failed to report for five (5) in-offlce random drug tests since his revocation hearing on May 3, 2005 .

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer.

Following Mr. Jackson’s revocation hearing on May 3, 2005, he Was instructed to report by telephone to the U.S.
Probation Of_fice every Wednesday beginning May 4, 2005. He has failed to call on four (4) scheduled dates.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:03-CR-20409 Was distributed by fax, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

